                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

IN RE AGFEED INDUSTRIES, INC.                      Lead Case No. 3:11-cv-01087
DERIVATIVE LITIGATION
                                                   Judge Todd J. Campbell
                                                   Magistrate Judge E. Clifton Knowles



                  STATUS REPORT AND STIPULATION AND ORDER
                  REGARDING VOLUNTARY DISMISSAL OF ACTION

       In response to the Court’s February 11, 2015 Order, Counsel for Plaintiffs Ahmad Arshi,

Joshua Miller, Joseph G. Spinella, and William Nix (collectively “Plaintiffs”), along with

counsel for defendants John A. Stadler, K. Ivan F. Gothner, David Michael Johnson, Fredric

Rittereiser, Arnold Staloff, (collectively “US Defendants”) hereby jointly provide this status

report and stipulate pursuant to Rule 41(a) of the Federal Rules of Civil Procedure for dismissal

of the above-referenced action without prejudice.         Counsel for Plaintiffs seeks voluntary

dismissal of the action in light of AgFeed’s voluntary petition for bankruptcy under Chapter 11

of the United States Bankruptcy Code.

       Plaintiffs and Defendants agree that, at all times relevant to this action, the parties and

their counsel complied with Rule 11 of the Federal Rules of Civil Procedure and all other rules

and laws in connection with this action. Plaintiffs and Defendants further agree that no award of

attorneys’ fees or costs shall be made to any parties, and that no costs, sanctions, claims, or

attorneys’ fees arising in or from this action will be pursued by any parties.



Respectfully submitted,

By: /s/ Overton Thompson                           By: /s/ Robert I. Harwood
Overton Thompson III (TN #011163)                  Robert I. Harwood (Pro Hac Vice)



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E. Steele Clayton, IV (TN #17298)              Peter W. Overs, Jr. (Pro Hac Vice)
BASS, BERRY & SIMS PLC                         HARWOOD FEFFER LLP
150 Third Ave., South, Suite 2800              488 Madison Avenue
Nashville, TN 37201                            New York, NY 10022
Telephone: (615) 742-6270                      Telephone: (212) 935-7400
othompson@bassberry.com                        Facsimile: (212) 753-3630
sclayton@bassberry.com                         rharwood@hfesq.com
                                               povers@hfesq.com
                                               Plaintiffs Co-Lead Counsel and Member of
William R. Baker III (Pro Hac Vice)            the Executive Committee for Plaintiffs
J. Christian Word (Pro Hac Vice)
LATHAM & WATKINS LLP                           By: /s/ Ex Kano S. Sams II
555 Eleventh Street, NW Suite 1000             Ex Kano S. Sams II (Pro Hac Vice)
Washington, DC 20004-1304                      Lionel Z. Glancy
Telephone: (202) 637-2200                      GLANCY BINKOW & GOLDBERG
william.baker@lw.com                           LLP
christian.word@law.com                         1925 Century Park East, Suite 2100
                                               Los Angeles, CA 90067
Attorneys for Defendants John A. Stadler, K.   Telephone: (310) 201-9150
Ivan F. Gothner, Bruce Ginn, David Michael     esams@glancylaw.com
Johnson, Arnold                                lglancy@glancylaw.com
Staloff, Fredric Rittereiser,
                                               Member of the Executive Committee for
                                               Plaintiffs

By: /s/ Kenneth G. Gilman                      By: /s/ Wade B. Cowan
Kenneth G. Gilman (Pro Hac Vice)               Wade B. Cowan (TN #9403)
GILMAN LAW LLP                                 DAVIES HUMPHREYS HORTON &
3301 Bonita Beach Rd., Suite 307               REESE PLC
Bonita Springs, FL 34134                       150 Second Avenue North, Suite 225
Telephone: (239) 221-8301                      Nashville, TN 37201
kgilman@gilmanpastor.com                       Telephone: (615) 256-8125, ext. 230
                                               wcowan@dhhrplc.com
Plaintiffs Co-Lead Counsel and Member of
the Executive Committee for Plaintiffs
                                               Plaintiffs Co-Liaison Counsel



By: /s/ Eduard Korsinsky                       By: /s/ Patrick Powers
Eduard Korsinsky (Pro Hac Vice)                Patrick Powers (Pro Hac Vice)
Michael Harris Rosner (Pro Hac Vice)           Mark Taylor (Pro Hac Vice)
LEVI & KORSINSKY LLP                           Peyton Healey (Pro Hac Vice)
30 Broad Street, 24th Floor                    POWERS TAYLOR LLP
New York, NY 10004                             Campbell Center II
Telephone: 212.363.7500                        8150 North Central Expy., Suite 1575



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Facsimile: 212.363.7171                 Dallas, Texas 75206
ek@zlk.com                              Telephone: (214) 736-1343
mrosner@zlk.com                         Patrick@powerstaylor.com
                                        mark@powerstaylor.com
Member of the Executive Committee for   peyton@powerstaylor.com
Plaintiffs
                                        Member of the Executive Committee for
                                        Plaintiffs

By: /s/ Paul Kent Bramlett
Paul Kent Bramlett (TN #7387)
(MS #4291)
Robert Preston Bramlett (TN #25895)
BRAMLETT LAW OFFICES
P.O. Box 150734
Nashville, TN 37215
Telephone: (615) 248-2828
pknashlaw@aol.com
Robert@BramlettLawOffices.com


Plaintiffs Co-Liaison Counsel



IT IS SO ORDERED

Dated: February ___, 2015                 ________________________________
                                          Judge Todd J. Campbell
                                          United States District Judge




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